Case 1:20-cv-01191-WCB          Document 509-1 Filed 12/12/24            Page 1 of 1 PageID #:
                                          19698




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

RYANAIR DAC,
                  Plaintiff,
       v.                                          C.A. No. 20-01191-WCB
BOOKING HOLDINGS INC.,
BOOKING.COM B.V., KAYAK SOFTWARE
CORPORATION, PRICELINE.COM LLC,
and AGODA COMPANY PTE. LTD,
                  Defendants.


                [PROPOSED] ORDER GRANTING MOTION TO STRIKE

       The Court having considered Booking.com B.V.’s motion to strike (the “Motion”), IT IS

HEREBY ORDERED this _______ day of December, 2024 that the Motion is GRANTED: (1)

paragraphs 6 through 9 (including footnote 1) of D.I. 506 is STRICKEN and (2) D.I. 508, including

Appendix A, is STRICKEN in its entirety.



                                                    _________________________________
                                                    The Honorable William C. Bryson
                                                    U.S. Circuit Judge
